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District of Oregon
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        Of Attorneys for United States



                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


IN THE MATTER OF THE          )                         Misc. No.    01 - Y't7 t - qd!Cf
APPLICATION OF THE UNITED     )
STATES OF AMERICA FOR AN ORDER)
AUTHORIZING THE DISCLOSURE OF )                         APPLICATION
TELECOMMUNICATIONS RECORDS )
FOR CELLULAR TELEPHONE        )
NUMBER (503) 431-9309         )                         (UNDER SEAL)
------------)



       Fred W. Slaughter, Assistant United States Attorney for the District of Oregon, hereby

applies to this court for an order, pursuant to Title 18, United States Code, Section 2703(d), directing

Cricket Communications to provide to agents of the Federal Bureau of Investigation (FBI), the

following transactional records for the period from 12:00 a.m. on March 20, 2009, through and

including March 24, 2009, at II :59 p.m., pertaining to cellular telephone number (503) 431-9309:

       (a)      Cell site activation, including mobile switching office (MSO) cell site and sector

address;

       (b)      Signaling information;
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       (c)      A listing of all control channels and their corresponding cell sites;

       (d)      Subscriber, electronic serial number (ESN) and billing information for the specified

cellular/wireless telephone, cell personal communicator systems (PCS);

       (e)      An engineering map, showing all cell site tower locations, sectors, and orientations;

and

       (f)      Subscriber, electronic serial number (ESN), mobile identification number (MIN) and

international mobile subscriber identifier (IMSI) and billing information for any other

cellular/wireless telephones on this account or that may be identified from these records.

       In support ofthis application, Assistant United States Attorney Fred W. Slaughter, states the

following:

       I.       Applicant is an attorney for the government as defined in Rule 54(c) of the Federal

Rules of Criminal Procedure, and, therefore, pursuant to Section 2703(d) of Title 18, United States

Code, may apply for disclosure of telecommunications records.

       2.       Applicant certifies that the FBI is conducting a criminal investigation of Soren

Korzybski, aka Soren Raney, in connection with violations of Title 18, United States Code,

Sections 371 and 2113(a) (conspiracy to commit bank robbery) and Title 18, United States Code,

Section 2113 (bank robbery). It is believed that the subject of the investigation has used cellular

telephone number (503) 431-9309 in furtherance of those offenses, and that there are specific and

articulable facts showing there are reasonable grounds to believe that the cellular site information

sought is relevant and material to the ongoing criminal investigation. This application and the

information contained herein is based upon the attached affidavit ofFBI Special Agent Matthew W.

Furnia which is incorporated herein by this reference.


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        3.       Applicant requests that this court issue an order pursuant to Title 18, United States

Code, Section 2703(d) directing Cricket Communications to provide the requested records to agents

of the FBI.

        4.       Applicant further requests that, to enable agents of the FBI to utilize the information

requested herein and to facilitate the use of such information, the court's order also direct that all

records be provided in hard-copy and electronic format as specified by agents of the FBI.

        5.       Applicant further requests that this application, the attached affidavit, and any

resulting order be sealed until such time as the court orders otherwise, since disclosure at this time

would seriously jeopardize the investigation. Applicant further requests this court order Cricket

Communications, its agents and employees not to disclose to the subscriber, or any other person, the

existence of the order or of this investigation, unless otherwise ordered by this court.

        6.       Applicant further requests that the Clerk of the Court provide applicant with two

certified copies of said order.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief, and that this declaration was executed on this      /.5 i~ day of April 2009,   at

Portland, Oregon.


                                                        KARIN J. IMMERGUT
                                                        United States Attorney


                                                             ~4JIv-
                                                        FRED W. SLAUGHTER
                                                        Assistant United States Attorney




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STATE OF OREGON                          )
                                         )       ss. AFFIDAVIT OF MATTHEW W. FURNIA
County of Multnomah                      )

       I, Matthew W. Fumia, being first duly sworn, depose and state:

        I.        I am a Special Agent ("SA") of the Federal Bureau ofInvestigation ("FBI") and

have been so employed for seventeen months. I am currently assigned to the Portland, Oregon,

office of the FBI, where I investigate violations of federal laws, including Title 18, United States

Code, Section 2113(a), Bank Robbery, and other violations offederallaw. I have received

training regarding the enforcement of federal laws including the topics of bank robbery, fraud,

and narcotics. I have also acquired knowledge and information about bank robberies and the

various means and methods by which it is furthered from numerous other sources, including:

formal and informal training, other law enforcement officers and investigators, informants,

persons whom I have arrested and/or interviewed, and my participation in numerous other

investigations.

                                   PURPOSE OF THIS AFFIDAVIT

       3.         This affidavit is submitted in support of an application for a court order

authorizing the acquisition of stored cell site information for the period from 12:00 a.m. on

March 20, 2009, through and including March 24, 2009, at 11 :59 p.m., pertaining to cellular

telephone number (503) 431-9309, issued by Cricket (the "Subject Telephone Number").

       4.         The information contained within this affidavit is based upon my training and

experience, my personal knowledge of the investigation conducted in the matter, information

provided by other agents and law enforcement officers who have assisted in this investigation

and their own investigation, and my examination of evidence collected to date. This affidavit is


                                                   -1-
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intended to demonstrate there are specific and articulable facts showing there are reasonable

grounds to support the issuance of the court ordcr authorizing the acquisition of stored cell site

information for the period from 12:00 a.m. on March 20, 2009, through and including March 24,

2009, at II :59 p.m., for the Subject Telephone Number as requested herein and does not purport

to set forth all of the information that I have acquired during the course of this investigation

                                SUMMARY OF INVESTIGATION

       Background ofinvestigation and Indictment

       5.      On April 2, 2009, the Honorable United States Magistrate Judge Donald C.

Ashmanskas, District of Oregon, signed a search warrant in case number 09-MC-9085 (the

"April 2, 2009, search warrant") authorizing a search of a residence located at 3404 19th Avenue,

Apartment 207, Forest Grove, Oregon 97116 (the "Subject Premises"). A copy of the April 2,

2009, application and affidavit for search warrant is attached hereto as Exhibit" I ", and is hcrcby

incorporated by reference.

       6.      On or about April 7,2009, a federal grand jury returned a two-count

indictment charging SOREN DAVIS KORZYBSKI ("KORZYBKSI") with conspiracy to

commit bank robbery, in violation of Title 18, United States Code, Sections 371 and 2113(a), and

bank robbery, in violation of Title 18, United States Code, Section 21 13 (a) (the "indictment"). A

copy of the indictment is attached hereto as Exhibit "2", and is hereby incorporated by reference.

       Events Connecting KORZYBSKI with the Subject Telephone Number

       7.      On March 30, 2009, during my interview with KORZYBSKI, which is

referenced in paragraph 6(g) and 6(g)(I) of Exhibit "1", KORZYBSKI provided Task Force

Agent Tony Christensen with a cellular telephone number of (503) 431-9309, that is, the Subject


                                                 -2-
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Telephone Number. During the interview I provided KORZYBSKI with my business card which

contained my work telephone number.

        8.      On April 3, 2009, I received a telephone call from the Subject Telephone Number

on my work telephone number. The telephone call from the Subject Telephone Number resulted

in a voicemail message being left. When I listened to the voieemail message, I learned that the

caller identified himself as "Soren" and I recognized the voice as being KORZYBSKI based on

my interview with him on March 30, 2009. During the message, KORZYBSKI asked me to call

him and that I already had his telephone number. On or about April 6, 2009, I returned

KORZYBSKI's phone call by calling the Subject Telephone Number and left a message on the

Subject Telephone Number when no one answered. Thereafter, I received a call from the Subject

Telephone Number and recognized the caller's voice as KORZYBSKI's. I then had a

conversation with KORZYBSKI which included the topics of KORZYBSKI's grandfather's

death, the fact that the April 2, 2009, search warrant had been served at the Subject Premises, and

KORZYBSKI's request for a surrender date ifhe was going to be arrested.

        9.      The general geographic location of the Subject Telephone Number derived from

stored cell site information used by the Subject Telephone number can be used to corroborate the

observations of witnesses involved in the case. More specifically, law enforcement agents can

compare physical observations of the user of the Subject Telephone Number reported by

witnesses, which I believe is KORZYBSKI based on the facts contained in this affidavit, with

stored cell site information in order to verify the identification and location of the user of the

Subject Tclephone Number. Knowing the geographic location ofthc Subject Telephone

Number via the stored cell site records can help to corroborate the location of KORZYBSKI and


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any other co-conspirators during the conduct charged in the indictment. Based on my training

and experience, and talking with other experienced law enforcement officials familiar with bank

robbery investigations, I know that individuals that commit bank robberies and participate in

conspiracies to commit bank robberies often use cellular telephones to assist in coordinating the

events prior to, during, and after the bank robbery.

        10.     Based upon the preceding information and my investigative experience, I believe

that KORZYBSKI, and others as yet unknown, engaged in criminal acts on March 20, 2009,

violating Title 18, United States Code, Sections 371 and 2113(a), conspiracy to commit bank

robbery, and Title 18, United States Code, Section 2113(a), bank robbery. I further believe that

the Subject Telephone Number has been used by KORZYBSK1 and others as yet unknown, to

conduct their criminal activities charged in the indictment.

       11.      I further believe that information concerning the aforementioned offenses will be

obtained upon the discovery of the locations of the Subject Telephone Number during the dates

requested.

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          12.        Furthermore, based upon my knowledge, training, and experience, it is my belief

that the information contained in this affidavit, if prematurely disclosed to the public, could result

in the target's flight from prosecution, destruction of or tampering with evidence, intimidation

of potential witnesses, or otherwise seriously jeopardize the ongoing investigation. Therefore, I

request that this affidavit be sealed and notification to the public be delayed until otherwise

ordered by the court.




                                                                 MATTHEW W. FURNlA
                                                                 Special Agent
                                                                 Federal Bureau ofInvestigation
                                                                 Portland, Oregon


          SUBSCRIBED AND SWORN to before me this                    J..f..!:: day of   ~ 2009.


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      "   ~.
                           OFFICIAL SEAL
                      SHARON L GROVE
                    NOTARY PUBLlC·OREGON
                     COMMISSION NO. 434810
                                                                 Notary Public for State of Oregon
                                                                 My Commission Expires: ..z/ ¥/t3
               MY COMMISSION EXPIRES fEBRUARY 4. 2013




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                                                     UNITED STATES DISTRICT COURT
                                                                                           DISTRICT OF                                                OREGON


                 In the Mandr of the Search of
(N:lIT1c. address Of brief d~'SCrlPti+ of person, propomy Of       prl'mise~   10 t)(: sC<.1rchL'd)                 APPLICATION AND AFFIDAVIT
                                                                                                                    FOR SEARCH WARRANT
  The premises          describe~
                          as 3404 19th Avenue, Apartment
  207, Forest Grove, Oregon 97116 (the "SUBJECT
  PREMISES")            I
                                                                                                                    Case Number:              O{ t--t!C ~ 90/Y-;

       I,                            I   Special Agent Matthew W. Furnia                                                                     being duly sworn depose and say:
       I am a(n) Special ~gent, Federal Bureau 01 Investigation                                                                                               and have reason to believe
                                     I                                            onkl,tl Tille
  that      Don the persr of or                           [ZIon the I""perty or premises known as (name, description and/or location)
    See Attachment A, attached hereto and incorporated herein by reference



  in the                             I                                                                District of       _O=re"'g::;:o:..:n                                                                        _
  there is now eoneealid a certain person or property, namely                                                Id"'''1>< ,h, pee,," N pco[>C"y 10 be "I,.,d)

    See Attachment B, attached hereto and incorporated herein by reference
                                     I
       .    .                        I
  which     IS (Slate   on;: or mor~hasc:.'i   fOf .sc::rch and ~Cllllrl' s...: I,mll under Rult: 41(c) of the Ft.-dt:ral Rules of Criminal Procedure)

  Evidence of the crime jf bank robbery
                                     ,
  concerning a violatiol, of Tille                                 18                  United Slates code, Seetion(s)                         ..:2:.:1..;1,,3,,(a"')                                              _
  The facts to support              t    findll1g of probable calise arc as follows'
  See Atlaehed AffidaVit of SpeCial Agent Matthew W Furnla                                                                          Certified to be a true and correct
                                                                                                                                    copy of Origi~                     . this. District.
                                                                                                                                    Dated                                     C./i
                                                                                                                                    Mary L-.Mu;;:oran;;:;:.~Atct~in:f;g~C;-.I::-e    t-7":::c-'---
                                                                                                                                    US District Court of r on                                   .
                                                                                                                                    By Deputy Clerk                               ". ~ ...: )J.li.?-~;!;."
                                                                                                                                    Pages                                      " . ", '+;'~' ;y.,:" '. "

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                                                                                                        at                                                                            ~ IJli) c,Sl                                .

DONALD C. ASHMAN$KAS, U.S MAGISTRATE JUDGE
  Name of JuJge                                          Titk 01 Judge




                                                            EX'HIBIT                                                 ",                1/
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STATE OF OfEGON
          ,
                I
                                   5S.   AFFIDAVIT OF MATTHEW W. FURNIA
County of Multnomah


     I, M1tthew         w.   ~urnia,   being first duly sworn, depose and

state the following:

     1.          I am a Special Agent ("SA") of the Federal Bureau of

Investiga~ion ("FBI") and have been so employed for seventeen

months.     r am currently assigned to the Portland, Oregon, office
             i
of the    FB~,      where I investigate violations of federal laws,

including !Title 18, United States Code, Section 2113(a), Bank

Robbery.

     2.     I,This     affidavit is submitted in support of an

apPlicatidn for a search warrant authorizing the search of 3404

19th Avenue, Apartment 207, Forest Grove, Oregon 97116 (the

"SUBJECT PREMISES"), more fully described in Attachment A of this
            I
affidavit,1 which is incorporated herein by this reference, that I

believe i, the residence of SOREN DAVIS KORZYBSKI                ("KORZYBSKI"),

in the District of Oregon, and the seizure of evidence,

contraband, fruits,          and instrumentalities of violations of Title

18, United States Code, Sections 2113(a), bank robbery, more

fully des ribed in Attachment B of this affidavit, which is

incorporat;ed herein by this reference.

     3.      The informiltion contained within this affidavit is

based upory my training and experience, my personal knowledge of

the investigation conducted in the matter, information provided
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by other Jgents and law enforcement officers who have assisted in

this invejtigation and their own investigation, and my

examinatiJp of evidence collected to date.                    This affidavit is
               I
intended bo provide probable cause to support the issuance of the

search warrant as requested herein and does not purport to set

forth all of the information that I have acquired during the

course of ,this investigation.

PREMISES      ~O        BE SEARCHED

        4.         The SUBJECT PREMISES is described in ATTACHMENT A, and

is described as follows;

                   a.      The SUBJECT PREMISES is located at 3404 19th

Avenue, Apartment 207,                Forest Grove, Oregon.    The SUBJECT

PREMISES ~s a unit located in the Laurel West Condominium complex

which is       ~ocated       at the southeast corner of 19th Avenue and Oak.

The SUBJECT PREMISES is located on the second story of the two-

story    com~lex.          The SUBJECT PREMISES is painted gray with blue
               ,
trim.        Th~ SUBJECT PREMISES has a blue front door with the

numbers "207" in blue color to the right of the front door.

ITEMS TO dE SEIZED
               I
        5.     IThe items to be seized from the SUBJECT PREMISES that

are evidence of the crime of bank robbery, in violation of Title

18 U.S.C. ISection 2113(a), are described in ATTACHMENT B and are

as follows;
               I
               la.        Weapons.    firearms and their ammunition, replica


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firearms, and receipts demonstrating the purchase and/or transfer

of weapon~ and their ammunition, and replica firearms;

               lb.    Maps, documents, and diagrams relating to planning

a bank roJberies;

               ic .   Identification, papers, and receipts showing

purchases and/or ownership and occupancy of the SUBJECT PREMISES;

               d.     Disguises and clothing, including wigs,

eyeglasses, sunglasses, baseball and knit hats, caps, jackets,

sweatshirts, motorcycle helmets, gloves, pants, footwear, masks,

scarves, clnd other items used to conceal one's identity;
           I
           Ie.        Indicia of recent travel relating to bank

robberies ;1

           If.        Indicia of the planning and/or execution of bank

robberies stored on media such as computer floppy disks, zip

drives, c mpact disks, tape backups, hard disk drives, flash

memory, secure digita         memory, memory chips, and handheld

cellular JelePhones and other small forms of removable media

commonly       sed 1n handheld devices or cameras;

               g.     Trace evidence including dye;

               h.     United States currency, electronic tracking

devices, dye packs, exploded dye packs, cash straps, and bank

envelopes!and bags;
           I
           Ii.        Bank statements and receipts indicating cash
           I
deposits ~nd large purchases, respectively;


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                     j.     Correspondence between KORZYBSKI and
          .I
co-conspl~ators
                                   .
                             regardlng the disposition of bank robbery

proceeds.       I
STATEMENTloF PROBABLE CAUSE AND EVIDENCE CONNECTING KORZYBSKI TO
THE SUBJEGT PREMISES

     6.         II have personally conducted an investigation into the

bank robb~ry on March 20, 2009, at approximately 1:30 p.m., at
                I
the Bank of the West located at 18685 SW Tualatin Valley Highway,

Aloha, Oregon ("Bank of the West") mentioned in the paragraphs
                ,I
that folldw.               During the course of this investigation I have

spoken with victim tellers, private citizens, other

investigayors, and police officers familiar with this
                I
investigation and have reviewed law enforcement reports.                       As a

result,   I have become aware of the following information:

     March 20, 2009
            I
            la.            On Friday, March 20,     2009, at approximately 1:30

p.m., a rd>bbery occurred at the Bank of the West located at 18685

SW Tualatin Valley Highway, Aloha, Oregon.                    A white male subject

(the "robber") entered Bank of the West.                   The robber's entrance

into Bank of the West caught the attention of the Bank of the

West's financial service officer ("financial service officer")

because the robber ,"as wearing "goofy" clothing and was acting

suspicious,               The robber was described as a white male adult,
            I
approximately 5'10" tall, weighing approximately 200 pounds,
            I

between                   years of age.    The robber had shoulder-length brown

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hair and        as wearing large-framed glasses, a charcoal grey

"beanie,,-JtYle hat, and a grey Hurley-brand,            Ilhoodie ll -style

sweatshir.            The victim teller greeted the robber as the robber

entered B nk of the West.           The robber did not respond to the
           1
victim    te~ler's       greeting, and approached the victim teller's

window widh both of the robber's hands in the front pocket of the
            I
robber's sweatshirt.

                b.     Upon reaching the victim teller's window, the

robber sa~d, "Twenties, fifties, hundreds." The victim teller
          I
activatedithe bank's alarm system and said, "I'm sorry?" In a
            ,
            I
raised voice, the robber responded,           "Twenties, fifties, and
            I
hundreds, !right now!"          The victim teller opened her bank drawer,

removed   e~ch        denomination from the drawer, and spread the money
            :

on the coJnter in front of the teller window.              The robber then

asked the victim teller about a second bank drawer.                The victim
            ,
teller told the robber that the victim teller did not have a
            I
second drawer.           The robber then gathered the money from the

counter, placed the money in che front pocket of the robber's

sweatshirt,
         , and exiLed Bank of the West.             As the robber was
            I
exiting Bank of the West,          the robber looked at the financial
            i
service officer (who had seen the robber when the robber first

entered   Bink        of the West, as mentioned above in paragraph 6(a)).

The victim teller observed the robber running north through the

parking              of Bank of the West in the direction of a nearby


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e',," "j",e', p"" e',',oe,.' "0"" ."eby,                           The victim

                                                                    victim teller
:::I;:s:OJ:e:h:o::::n::a:h:e:::::rOff:::rf::::C::: service

officer e ited Bank fo the West and began to follow the robber.

                    c.     The financial service officer followed the robber

as the    ro~ber           proceeded north through the parking lot of Bank of

the West.            As the robber reached the north end of the parking

lot, the ~obber ran by the driver's side window of an older

model,    si~verI
                           in color, BMW, which the financial service officer

observed had an Oregon license plate of XFA 930 (the "BMW"), and

had its eqgine running.               The financial service officer saw what
                I


appeared    'A           be a young mal.e in the driver's seat of the BMW.         As

the robbe:r; ran past the driver's side of the BMW, financial

service oJ;ficer obserled that the robber appeared to slow down
             I
and say something to che driver of the BMW.                 The robber then

continuedleastbound on SW Alexander Street and turned north into

a small a~artment com9lex located in the vicinity of 18569-18577

SW Alexander
         ,   Street.               The financial service officer saw the
            ,
driver of!the BMW look back at the financial service officer
            I,
before drfving eastbound on SW Alexander Street and then turning
            I
into the apartment complex located in the vicinity of 18569-18577
         I
SW Alexan?er Street.               The financial service officer then returned
            I
to Bank of the West.               An audit of Bank of the West revealed that

the rObbe' had obtained approximately $732.00 during the bank


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robbery.        In addition, at the time of the robbery, Bank of the

West was ~nsured by the Federal Deposit Insurance Corporation.

                jd.   After the robbery at Bank of the West occurred,

Washington County Sheriff's Department deputies learned from the

financial service officer about the license plate number of the

BMW.   Bas d on the license plate information on the BMW, a member

of the Wa hington County Sheriff's Department ran Department of

Motor Vehfcles ("DMV") records with regard to the BMW.                   DMV

records revealed that Oregon license plate XFA 930 belonged to a

1993 silvJr BMW.          The records also revealed that the registered

owner of the BMW was KORZYBSKI, and that KORZYBSKI was a white

adult mal~, with a date of birth of XX-XX-1983, was 6'00" tall,

weighed 220 pounds, and had a residence address of 3404 19th
            I
Avenue,    A~artment      207, Forest Grove, Oregon, that is, the SUBJECT

PREMISES.   I Based      on the information from the DMV regarding the

BMW, law enforcement units established surveillance on the

SUBJECT PREMISES
         I
                 a short period of time after the robbery of Bank

of the weJt.          Law enforcement surveillance remained at the

SUBJECT pAEMISES for several hours.               Thereafter, law enforcement

conducted surveillance intermittently for the next few days.

However, during the surveillance of the SUBJECT PREMISES, law

enforcement did not observe the BMW come to the SUBJECT PREMISES.
            ,


            Ie.       On Ma~'ch 20, 2009, I learned that KORZYBSKI was

currently'assigned         il   parole officer.    From talking to other law


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            ,
            I
enforceme~t officials,        I learned that KORZYBSKI's parole officer

said that KORZYBSKI's listed residence address was 3404 19th

Avenue, A artment 207, Forest Grove, Oregon, that is, the SUBJECT

PREMISES.        I learned from KORZYBSKI's parole officer that

KORZYBSKI was currently on parole for a previous Assault III

charge, a d was due to report to the parole officer the following
            I
week.     KORZYBSKI's parole officer further informed me that

KORZYBSKI had not met the conditions of KORZYBSKI's parole and

that the    larole officer planned on arresting KORZYBSKI the

following week if KORZYBSKI reported as scheduled.             The parole

officer was aware that KORZYBSKI's parents lived in Bellingham,

Washington, and said that KORZYBSKI may have driven to his

parent's residence.
            ,
        March 24, 2009.

                f.   On or about March 24, 2009, law enforcement

officialslobserved the BMW at the SUBJECT PREMISES.             Thereafter,

on March 24, 2009, KORZYBSKI reported to his appointment with his

parole officer and was subsequently arrested for failing to
        . 'h the conditions of KORZYBSKI's parole.
comply Wlt                                                    KORZYBSKI was
          .I
booked lnto the Washington County Jail and the BMW was seized and

secured b} the \'1ashington County Sheriff's Office.

        March 30, 2009

            Ig.      On Monday, l~arch 30, 2009, FBI Task Force Officer

("TFO" ) )ny Christensen and I met with KORZYBSKI at the


                                       8
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waShingtod County Jail.           I read KORZYBSKI his Miranda rights

which KORZYBSKI indicated that he understood and KORZYBSKI agreed
               I

to speak   ~ith TFO Christensen and I after executing a written
Miranda wjl i ver.        In summary, the following occurred during the

interview]

           I         i.     At the onset of the interview, KORZYBSKI
               I
stated a desire to stop going to jail once KORZYBSKI was released

for the Pfrole violation.           When asked by SA Furnia if KORZYBSKI

had any idea why the FBI would be interested in speaking with
         I
KORZYBSKI, KORZYBSKI said,          "Why don't you show me what you have?"

'When asked by SA Fun,ia i f KORZYBSKI was willing to cooperate and
           I
speak with SA      Furni~    about the bank robbery at the Bank of the

West, KORtYBSKI stated that KORZYBSKI wanted to speak with SA

Furnia, but did not trust law enforcement officials, and would be

more willing to speak with SA Furnia outside of jail.                KORZYBSKI

           I
explained to SA Furni.a that KORZYBSKI was being evicted and that

i f KORZYBSKI were allowed to be released from jail on the parole
           I
violation, in order to deal with being evicted, KORZYBSKI would be
         I
more willing to talk with investigators.   KORZYBSKI further
         :
explainedlthat
         ,     KORZYBSKI "has never run from anything" and would
           I
face whatever situaLion KORZYBSKI was now facing.               During the
           I
course ofl the interv.ie·,v, KORZYBSKI inquired of SA Furnia,            "What

am I faCirg here?          ,'ive years?"   During the interview, KORZYBSKI

also gran ed consent to search the BMW.
           I
                                           9
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            Ih.     On March 30, 2009, TFO Christensen and I conducted
         i
a search rf the BMW pursuant to the consent that KORZYBSKI

granted uS mentioned above in paragraph 6(g) (i).                 During the

search of the BMW, TFO Christensen and I did not locate any

evidence        elating to the March 20, 2009, robbery at the Bank of

the West.   1


            Ii.     After the interview of KORZYBSKI and the consent

search of It he BMW, TFO Christensen and I conducted a photographic

lineup with the financial service officer from Bank of the West

who had followed the robber on March 20, 2009.                After viewing the

photographic lineup, the financial service officer said that the

individuat in Position #4 of the lineup resembled the bank
            I
robber.     The financial service officer stated that the ears,
            I
double chin, the lower half of the mouth, the round nose, and the

overall face of the person depicted in Position #4 were the same

as those of the robber.             The financial service officer stated
            I
that the ferson depicted in Position #4 did not have the long
            I
hair or tre large-framed glasses that the robber wore.                  The

person deficted in Position 114 of the lineup was KORZYBSKI.                   The

victim teller from the robbery of the Bank of the West on March
            I
20, 2009, Iwas also shown the photographic lineup but stated that

the PhotorraPh of tllC' robber vIas not in the photographic lineup.

PROBABLE    ~AUSE   FOR   _JTE~lS   TO BE SEIZED

     7.     IBased on 111:; training and experience, interviewing bank

            I                             10

            I
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robbery sJspects, and talking with other experience law

enforcemett officials familiar with bank robberies,                     I know that

persons w,o rob banks often use their residences, such as the

SUBJECT PEMISES, in this investigation, to keep evidence of

planning and the inst:rumentalities needed for the execution and

circumsta6ces following a bank robbery, and may keep items used

or that w~re planned to be used in a robbery including weapons,

firearms and their ammunition, replica firearms, and receipts

demonstrating the purchase and/or transfer of weapons and their

ammunition, and replica firearms; maps, documents, and diagrams

relating    to    plannlng bank robberies; identlfication, papers, and

receipts 1hOWlng purchases and/or ownership and occupancy of the

SUBJECT PREMISES; dlsgUJ,Ses and clothing, lncluding wigs,

sunglassel, eyeglasses, baseball and knit hats, caps, jackets,
            I
sweatshirts, gloves, pants, footwear, and other items used to

concea 1    I
           o~e's    1'd entlty;
                           '       'd"lCla
                                   ln        0    f recen t t  l re 1 a t'1ng t 0 b an k
                                                            rave

robberies), indicia o~ ~hc planning and/or execution of bank

rObberieslstored on media such as computer floppy disks, zip

drives, c'i'mpact dis!,:s,        tape backups, hard disk drives,           flash

memory, sJcure digital memory, memory chips, and handheld

cellular uelephones        ~nd    other small forms of removable media

commonly        sed in handheld devices or cameras; fingerprints, palm

prints, and other trace evidence; United States currency,

electronil tracking devices, dye packs, exploded dye packs, cash
            I




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           i
straps, and bank envelopes and bags; bank statements and receipts

indicating cash deposits and large purchases, respectively.             I

also know that robbers will often keep correspondence with co-

conspirat~rs      in their residences concerning the planning and
         I

execution1of bank robberies.

      CONcLuSION

      8.   IBased on my i.nvestigation into the Bank of the West

robbery on March 20,      2009,   including the identification of

KORZYBSKI by the financial services officer and sighting of the
           i
BMW at th$' crime scene, and all of the facts set forth in this

affidavit,      I believe that KORZYBSKI is the person who robbed Bank
           ,
of the weft on March 20,      2009.

      9.   iI   have discussed the requested search warrant, the
           I
accompany~ng application, and this affidavit in this case with
           I

Assistantlunited States Attorney ("AUSA") Fred W. Slaughter.

AUSA Frediw. Slaughter informed me that in his opinion, this

affidavitl is legal I} and factually sufficient to support the

issuance       f the requested warrant for the SUBJECT PREMISES.
           F
III        I
III        !

III
III
III
III

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       10.       Based on the foregoing facts and my training,

education        and experience there is probable cause that evidence

of a violation of Title 18, United States Code, Section 2113(a),

bank   robb~ry,      will be found at the SUBJECT PREMISES.

             I
             I

                                     MATTHEW W. FURNIA
                                     special Agent
                                     Federal Bureau of Investigation



Sworn to before me and subscribed in my presence this              .f)...   day
of April, ,I 2009.




                                     UNITED STATES MAGISTRATE JUDGE




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                                 ATTACHMENT A
             I
PREMISES TO
         , BE SEI'.RCHED
        The fremises to be searched for evidence of violations of

Title 18'iunited States Code, Sections 2113(a), bank robbery, is

located at 3404 19th Avenue, Apartment 207, Forest Grove, Oregon

97116    (th~     "SUBJECT PREMISES") and is described as follows:

        a.   IThe SUBJECT PREMISES is located at 3404 19th Avenue,
             ,
             I
Apartment 207, Forest Grove, Oregon.          The SUBJECT PREMISES is a

unit located in the Laurel West Condominium complex which is
             i

located at the southeast corner of 19th Avenue and Oak.              The
             ,          .
SUBJECT PREMISES 1S located on the second story of the two-story
             I

complex.         The SUBJECT PREMISES is painted gray with blue trim.
             ,

The SUBJECT PREMISES has a blue front door with the numbers "207"

in blue color to the right of the front door.
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                                    ATTACHMENT B

ITEMS TO BE SEIZED

     The items to be seized from 3404 19th Avenue, Apartment 207,

Forest Gr ve, Oregon 97116 (the "SUBJECT PREMISES"), for evidence

of violat ons of Title 18, United States Code, Section 2ll3(a),

         ,
bank robbery, are        d~scrjbed    as follows:

           la.        Weapons,    firearms and their ammunition, replica
           r

firearms, land receipts demonstrating the purchase and/or transfer

of weapons and their ammunition, and replica firearms;
           I
           'b.        Maps, documents, and diagrams relating to planning

bank rObbfries;

           Ic.        Identification, papers, and receipts showing

           I
purchases and/or ownership and occupancy of the SUBJECT PREMISES;

           Id.        Disguises and clothing, including wigs,

eyeglasses, sunglasses, baseball and knit hats, caps, jackets,
           I
sweatsh~rfS'        motorcycle helmets, gloves, pants, footwear, masks,

scarves, and
         ,   other l.tems used to conceal one's identity;

               e.     Indicia of recent travel relating to bank

robberies'

               f.     Indici.a of the planning and/or execution of bank

robberies stored on media such as computer floppy disks, zip

drives, compact disks,           tape backups, hard disk drives, flash

         I
memory, secure d"~g~ta1 memory, memory c h'~ps, and h an dh e Id

cellular   ~elePhones and        other small forms of removable media

           I
           I
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commonly used in handheld devices or cameras;

            Ig.      Trace evidence including dye;
            I        United States currency, electronic tracking
            (
            I
devices, dye packs, exploded dye packs, cash straps, and bank

envelopes and bags;

                i.   Bank statements and receipts indicating cash

deposits and large purchases, respectively;

                j.   Correspondence between SOREN DAVIS KORZYBSKI and

co-conspi ators regarding the disposition of bank robbery
            I
proceeds.   I




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                             FOR THE DISTRICT OF OREGON




UNITED STATES OF AMERICA                              No. CR 09·    13:J....-   6 f!-.-
               v.                                     INDICTMENT

SOREN DAVIS KORZYBSKl,                                18 U.S.C. § 371
a.k.a. Soren David Raney,                             18 U.S.C. § 2113(a)

                               Defendant.



                               THE GRAND JURY CHARGES:

                                   COUNT ONE (Conspiracy)

       Beginning on a datc unknown, and continuing to on or about March 20, 2009, in the.

District of Oregon, SOREN DAVIS KORZYBSKl, a.k.a. Soren David Raney

("KORZYBSKl"), and others known and unknown to the Grand Jury, did unlawfully, wilfully,

knowingly and intentionally combine, conspire, confederate and agree together and with each

other to commit an offense against the United States, that is, by force, violence or intimidation,

unlawfully and knowingly take from the presence of employees of Bank of the West, 18685 SW

TV Highway, Aloha, Oregon ("Bank of the West"), approximately $732.00 in United States

currency, which money was then and there in the care, custody, control, management, and

possession of Bank fo the West, whose deposits were insured by the Federal Deposit Insurance

Corporation, in violation of Title 18, United States Code, Sections 371 and 2113(a).




                             EXHIBIT L"
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                                         OVERT ACTS

       In furtherance of this conspiracy and to effect and accomplish the objects of it, one or

more of the co-conspirators committed one or more of the following overt acts in the District of

Oregon:

       1.     During the course of the conspiracy, KORZYBSKI and a co-conspirator traveled

to the area of Bank of the West, on March 20, 2009.

       2.      During the course of the conspiracy, KORZYBSKI entered Bank of the West and

KORZYBSKI robbed Bank of the West.

       3.     During the course of the conspiracy, a co-conspirator waited for KORZYBSKI in

KORZYBSKI's BMW automobile, bearing Oregon license plate number XFA 930 (the

"BMW"), in a parking lot located near Bank of the West, while KORZYBSKI robbed Bank of

the West.

       4.      During the course of the conspiracy, KORZYBSKI exited Bank of the West after

committing the robbery, spoke with the co-conspirator at the BMW; then KORZYBSKI walked

to a nearby apartment complex and the co-conspirator drove the BMW to the same apartment

complex.
                                 . COUNT 2 (Bank Robbery)

       On or about March 20,2009, in the District of Oregon, SOREN DAVIS KORZYBSKI,

a.k.a. Soren David Raney ("KORZYBSKI"), defendant herein, did by force, violence or

intimidation, unlawfully and knowingly take from the presence of employees of Bank of the

West, 18685 SW TV Highway, Aloha, Oregon, approximately $732.00 in United States

currency, which money was then and there in the care, custody, control, management, and

III



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possession of Bank of the West, whose deposits were insured by the Federal Deposit insUrance

Corporation; all in violation of Title 18, United States Code, 2113(a).

                Dated this~ day of April 2009.

                                              ATRUEB~

                                              8FfICIATING FOREPERSON
Presented by:

KARIN J. IMMERGUT .
Uni;LS AttornJY _

    PA1WY---
FRED W. SLAUGHTER
Assistant United States Attorney




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